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                                      I.


Plaintiff resides at 1825 Locust Grove Church Rd. in Orange, VA 22960.


Defendant is a Corporation, organized and existing under and by virtue of the Laws of the
State of Texas with principal place of business at 5430 LBJ Freeway, Dallas, TX 75240.


                                       II.
Herbert R Putz (Putz) was the owners of agricultural land in Delta County TX identified
in Real Property Records of Delta County at (1) Volume 65, Page 187; (2) Volume 65,
Page 180; (3) Volume 65, Page 194; (4) Volume 65, Page 468; (5) Volume 65, Page 182;
(6) Volume 65, Page 177; (7) Volume 65, Page 185; and (8) Volume 65, Page 192)
 (EXHBIT A).


 The original 1930 easement agreements grant a right of way for the purpose of
constructing, inspecting, repairing, maintaining/operating, and replacing a pipeline and
 appurtenances. Should more than one pipeline be laid, the sum of 25 cents per linear rod
 for each additional line shall be paid besides the damages which may arise to growing
 crops from the construction, maintenance and operation.


 The Easement Agreement stipulates further said damages, if not mutually agreed upon to
 be ascertained and determined by three disinterested person, one thereof to be appointed
 by said Grantor, one by the said Grantee, and the third by the two so appointed as
 foresaid, and the written award of such three persons shall be final and conclusive.


 According to Mr. B. Caroll-an Atmos employee- the work on the new pipeline began
 on 7/25/2013 and was completed 8/30/2013. The existing pipeline was not removed. The
 work performed by Atmos was the installation of 4,740 linear ft. of a new pipe equal to
 287.27 rods which.caused damages to an area of our fields of 50'ft. X 4,740'ft. = 237,500
 sq. ft. or a total of@ 6 acres of crop damages. (EXHBIT B)
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 The attorneys for Putz and Atmos tried to fmd a settlement but Atmos' terms of the
 proposed settlement agreement were not acceptable to Putz.


                                             III.


 In as much as no "meetings of the minds" for a settlement occurred the contractual
 agreed Alternate Dispute Resolution (ADR) is to apply. ADR is strongly favored in
 federal law. Shearson/ American Express, Inc. v. McMahon, 482 US 120, 226 (1987; Moses H Cone,
 Mem 'I Hospital v. Mercury constr. Cor. 460 US 1,24-25 (1983).



 The Court should order ADF unless it can be said with positive assurance that the ADF
 clause is not susceptible to any interpretation that would cover the dispute. Any doubts
 concerning the scope of the ADF agreement must be resolved in favor of ADF under
 federal law Harveyv. Joyce, 199 F3rd 790.


                                             IV.


 WHEREFORE, Plaintiff Putz respectfully request that its Complaint to Compel
 Defendant, Atmos Energy Corporation to nominate their "disinterested person" and
 proceed with Alternate Dispute Resolution be granted.




 Herbert R. Putz
 1825 Locust Grove Church Rd Orange, VA 22960
 hp@
 (540) 406 7054
    Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                                                                                                                                                                            Page 4 of 48 PageID 8




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       Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                            Page 22 of 48 PageID 26




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                  . FOR RECO!ID IN TliE PVBUC RECORDS! YOUR SOCIAL SECURITY NUMRER OR DlUVER'S
                   UCENliENUMBER-


                                   WARRANTY DEED WITH VENDOR'S LIEN
                   Date: NOVEMBER 15,2006
                                                                 #1270
                   Grantor:         GERRY GERNMT and wife, KATHY GERNAAT AND KERRY GERNAAT
                                    and wife, I,.AVONNE GERNAAT

                   Grantafs Mailing Ad~ress Oncluding county):

                             GERRY GERNAAT                                                                                ,..,
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                             lAKE CREEK, TEXAS 75450
                             DELTA. COUNTY
                    Grantee:        HERBERT R. PtJTZ aod spouse, SIGNE ~. PUTz

                    Grantee'~ Mallln~-A~-~~Juding county}:

                              HERBER~.~-: ~tftt..~nd·spo~se., ·SlGNE E. PUTZ                                                                     . -..... . ..
                              182.5 LOCUST GROVE CHURCH ROAD                                                                                      ~
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                              ORANGE, VA2296a;; '-_; ·: · ·-.·                                                                                     -. ·:.•
                              ----'-'·-c.....GOUNTY - .·'.

                    Consideration: .           TEN AND . N0/100 DOLLARS and o1her good and valuabJg
                    consideration and the further consideration of a note is in the principal amount of SIXTY
                     SEVEN THOUSAND SEVEN HUNDRED AND NOI100 DOLLARS ($67,700.00) and Is
                     execuled by Gran!ee, payable to thG order of lONE STAR lAND BANK, FLCA. The note
                     is secursd by a vendor's nen retained in favor or LONE STAR LAND BANK, FLCA in this
                     deed and by a deed of trust from Grantee lo DARON GATES, Trustee.
                   .       ·LONE STAR LAND BANK. FLCA. at Grantee's request, having paid in cash to

                     Co\Do.,....ntJI an<i Se«l.n!rs.\~IJlonRr\l!y Dccarento\SJIP>Nlq()li'S OOCS\J:.EIQA/. DOCl<\li~ DEEJl VL l'QR
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Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                                 Page 24 of 48 PageID 28


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                                                                                  286                 I ~3
                                     Grantor that portion of the pu~hase price of the property lhat is e"Videnced by the note
                                     desoribed, the vendor's lien and superior title to the property are retained for tha benefit of
                                     LONE STAR lAND BANK. FLCA, and are transferred to lONE STAR LAND BANK. FLCA
                                     without recourse on Grantor.

                                     Property (Including any Improvements):
                                          See Exhibit "A" attached hereto and made a part hemof just as if copi-ed herein
                                          verbatim.

                                 Resenmtlons From ~nd Exceptions to ConvayanC$ and Warrantr.
                                                    Easements, rlght~f-way, and prescrlpnva r!gh!s, whether of record or         not     all
                                  pres&nl!y r~rded instrumanls, olhar than liens and conveyances, that affect the property;
                                  taxes fur the current year, the payment of which Grantee assumes.
                                         Gran!or, for the consideration, receipt of which is ackoowledged, and subject to the
                                 reservations from and exceptions to conveyance and warranty. grar)ta. sells and conveys
                                 to Grantee the property, together with~! and singular fhe rights and appurtenances thereto
                                 in any wi'se belonging, to Mva and hold it to Grantee, Gral'jtee's hsrrs, executor,
                                 adminlstrarors, succasson; or assigns forever. Grantor binds Grantor and Grantor's heirs,
                                 exactrtom, administrators and succassnrn to warrant and forever defend all and singular
                                 tha property to Grantee and Grantee's heirs, axecurors, administrators; successors and
                                 assigns against every person whamsoa\'er lawfully claiming or to claim the same or any
                                 Part 1hereot, except as to the. reservations from and a)Cceptions to conveyance and
                                 warranty.
                                                    The vendor's lien against and superior Iilia to the property are retained until each
                                 note described is fully paid according to Its tenns, at which time this dead shall become
                                 ahso!Lite.              ·
                                                    When the context requires, singular nouns a11d pronouns Include the plural.


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Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                     Page 25 of 48 PageID 29


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                                                              Vfb.              n.,M:.

                                                              ~§.&owLEo1G~iNr
          STATE OF TEXAS                                                  §
                                                                          §
          ·COUNTY OF])J-'-""'};¥'1'~"-----                                §

                This instrument was acknowledged before rna <m                                 ~( dfJ
          2006, by GERRYGERNAAT. ·




                                                              ACKNOWLEDGMENT
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          STATE OF~                                                       §
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          COUNlY Of M\SSAU~                                                §

                This instrument was acknowledged barore me oo                                   ~ / '7,    ;J_t)/X:,
          2006, by KATHY GERNAAT. ·




                                                               ACKNOWlEDGMENT
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           STATEOFTEXAS                                                   .§                                              -~--   _: ..... ! '_...,.   !~

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           COUNTVOFDELTA ·· ,. · ·-: . .                             .·    §.

                  This   instru~en~ ~~ ~~nowr&lg~ before                           J11Q   on   Mov.tmbrc   ;it             f; '.'        i:
           2006, by KERRY GERNMTand wife, LAVONNE GERNM}".



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     Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                    Page 26 of 48 PageID 30



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                                                         DESCRIPTION
                All Uiat ~rtain Iot, ln,el or 'P"-~cel oJ. land a!tua.t-.d in th• A.. Al!ltey Suna>y, Ab-s~act
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Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                Page 27 of 48 PageID 31



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          NOTICE OF CONFIOENTTAUTY RIGHTS: F YOIJ AAE A NATURAL PERSON, YOU MAY REMOVE OR
          STRIKE foJfV OF THE FOLLOWING INFORMATiO~ FROM YOU INSTRUMI!NT BEFORE. IT IS J=IL.ED
          FOR RECORD IN THE PUBLiC RECORDS:      YOUR SOCIAL SECURITY NUMBER OR DRIVCR'S
          UGENSE·NUMBER.


                          WARRANTY DEED WITH VENDOR'S LIEN
          Date: . SEPTEMBER 21, 2PQ5               if: t3st
          Gr.:mtor:        FRED M. CARRINGTON, ANDY B. Cf.RRINGTON and JOEL E.
                           CARRINGTON

          Grantor's Mailing Address (including county):
                                                                                     FILED FOR RECORD
                 FRED CARRINGTON                                                         at--M
                 6432 E. CALLE ROSA
                 SCOTTSDALE, AZ B5251                                                    SEP 2 7 2005
                 MARICOPA COUNTY                                                    JaneJon
                                                                                     n...... es,.Co!.ily C1etk
                                                                                     ~:1\ ooorm, TEXAs
                 ANDY[}. CARRINGTON
                 1':35 BAVARIAN DRIVE
                 MIDDLETOWN, OHIO
                 BUTLER COUNTY .

                 JOEL E. CARRINGTON
                 4209 EDGEVIEW COURT
                 GRAND PRAIRIE, TEXAS 75052
                 DALLAS COUNIY

          Grantee:        · HERBERT R PUTZ
         · G!f1ntee's Mailing Address (including county):

                 HERBERT R PUlZ
                 1825lOCUST GROVE CHURCH ROAD
                 ORANGE, VA 22960
                 ORANGE COVNlY

          Consideration:      TEN AND N0/100 DOlLARS and other good and valuable
          consideration and the furlher consideration of a note of even date that is in the prlnc[pal
          amount of $53,820.00 and is executed by Granlee, payable to tt)e orderoftht::l FRED M.
          CARRINGTON, ANDY B. CARRJNGTON and JOEl CARRINGTON. The note is secured
          by a vendor's !len retained in favor of the FRED M~ CARRINGTON, ANDY B.
          CARRINGTON and JOEL CARRINGTON ln this deed and by a deed of1rust of even date,
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                            Page 28 of 48 PageID 32


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                                                  277            064
           from Grantee to EDGAR J. GARREIT, JR., Trustee.
                 FRED M. CARRINGTON, ANDY B. CARRINGTON and JOEL CARRINGTON, at
         · Grantee's request, having paid in cash lo Granto(that portion oflhe purchase price of the·
           property that is evidenced by lt\e note described, the vendor's Hen and superior title to the
           properlyareretainedforthe benefit of FRED M. CARRINGTON, ANDY B. CARRI!'fGTON
           and JOEL CARRINGTON and are transferred to FRED M. CARRINGTON, ANDY B.
           CARRINGTON and JOEL CARRINGTON without recourse on Grantor.

          Property (Including any improvements):
          See Exhibit "A" altached hereto and made a part hereof just as if copied herein verbatiill.

          Reservations From and Exceptions to Conveyance and Warranty:
               . Easements, rights-of-way, and prescriptive rights, whether of record or not; all
          presently recorded instruments, olher than liens and conveyances, that affect the property;
          !axes for the current year, the payment of which Grantee assumes.
                 Grantor. for the consideration, receipt of which Is acknowledged, and subject to !he
          reservations from and exceptions to conveyance an~ .warranty, grants, sells and conv~ys
          to Grantee the property, together with all andsingular'the rights and appurtenances therelo
          in any Wise belonging. to have and hold it to Grantee, Grantee's heirs, executor,
          administrators, successors or assigns forever. Grantor binds Grantor and Grantors heirs.
          executors, administrators and successors to warrant and forever defend all and singular
          the property to Grantee and Grantee's heirs, executors, administrators, successors and
          assigns against every person whomsoever lawfullY clairrung or !o claim the same or any
          part thereof, except as to the reservations from and exceptions io conveyance and
          warranty.
                 The vendor's Hen against and superior !itle to the property are relained until each
          note described ls fully paid according to its terms, at which Ume this deed shall become
          absolute.
                 When the context requires, singular nouns and pronouns include the plural.

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                                                     ANDY it CARRINGTON!
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                                            ACKNOWLEDGMENT

          STATE OF       at{tp                           §
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          COUNTY OF       b/~                            §

                Thls instrument was acknowledged before me on                   ~Z?...-..t?.-t:            ,2?
          2005, by ANDY B.. CARRINGTON.


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                                                  (903) 739-9166 ft (90:3) 7&3-m9



                                                                  Fie]dnots

                          Situatcd abDUI :l-3~ mlkls Nonh 14" East liomilt!> City of Cooper. in tho: Cclltlty ofDcha,
                  St2lr: afT~partoflht<A. Askey Survey il2 and bcingall ofacalled34l/6 acrr:tr:actofland
                  o:onvcy<:d 10 M>Jnay Canington el ux by dec:d ~=dro Ill Vol. )42, P.-"'J.l'576 ofthtt .Deed Rttords
                  or said County ~ad Sr-!o and bc:I»g all of a called :14.6 a= llact of lalld conveyr:d Lo Mnn-ay
                  Cwr:in&tuB and 'Will; Mtitlla Eugc:nia Cariro_gt()ll by deed reCOlded in Vol. 152, Page 52::! ofsaid
                  Peed Recor&.
                         lleginnlng a1 a3f3b ironplnfuund~~t!ln:N~colnel'of a                04ll~ 115.46 acre l.ractof
                  land ron~ ID W.S. SJougl'1 by~d tec:orded iu Vol. !10, f~ 553 of ~Wdd Deed Rl:coms and
                  ~In 11m Wes.: ooU!Id!oy fine ofa ca!Ied 7:1 acre2"1 1racr cooveyec:) to foe Tll!Dcr.and will:,
                 Hibc:mii!TIIIDI'r~in Vol.IS7. Pa2C 152 o!SilidOecd R<:emrl!, midpoint hcing 1-hc
                 Solll.bo:mt CQ\11cr of lht: 34.6 acre C>UTingtop tract.
                          ~ Ncrlb O"l4'30w Elm~ !he Southw..sti:QTI!et afa:Z6.97 a~ !ractofllllld
                 conveyed to Jcny :P. Simpson by deed Il!COI"ded in Vol. 113, Pag, S61 of sald Deed .Records B.tld
                 Col1tinuing on lilt atolal disnlllce ofl197.94' to a l/1" ca~d koa pin (HF 5699) set &lllJa
                 NOith!:ast comer of tile 34 116., ~~qc Cartiugton Ulltt art~~ being IIIf; Scru!heai;t eot$:r of a called JO
                 ru:re {~Cillatts 111 h!l40 acres by deed descripl.IQU) 2,. =    COlJ.'V<:l'ed 10 Glctlllll faye CaV:!l!augh
                 by deed m:oR!cd in VoL 221, Pag.; 835 of the Official ~rei$ of.s!id County IIOd Sl~;
                          "Imtiee South 89"44'07" West a distaD.CC of2477.79•m lhe Soutllm:starm.cr of Mid
                 CaVIUlallgll tnlclllJJd the Nonhwesl = r of tho JIJ 1161lo eu:rc Cmingtoo. b.Jict and l;>cing in the
                 centerlin~ofCounty not.:! 1'14310;                                                  .
                            Throce South 0"14'37" West along ..aid County Roadooxlpas!ing the intc(m:lion of
                 CoWUy Rood #4420 ntll diotao,ce of.SBI.OO' ~continuing on for a total cliSI2llce of lll!.li.4.9' I!) 11
                 J/3'; e~Jlllci<l iron pin {Hf 5599) setal !hr: NortlWiest ll01:ner or said I J5.% a=s;     .
                            'rhcnce E'"" (rl'ij;u:Qa! beating) a dl~ of1.477.75 'to the point ofbegjnninJ and
                 ~ntaining ~7.U
                 Df·lillld.      .
                                       IICJ"CS of land of whkh 0.54 ICleslidna. co~ toad Iea:vfng a net of 67,21 zq:cs




                 ·-·-··~---------··~--- .                                               ---------.......      ___
                         t Ha,ydcn F.ost.ec, Y.egiste)ed l'rofi::lsi!lna] Land Surveyor, No. -5699 do hereby cmlJY"that
                                                                                                                         :_


                 this ~eseriplion .rt)ln:S¢nts 1\Q Oll gte grol111d I'U!VC]' made: Wldq lnY direct 'Sllp<lmsion. ~
                 doc.st~'tappt;arto be lrrrj =~ Othetth:m lhos..shown thereon. Rcfeunce.BeJuing=Sontb
                 boundzr.y line of lhe l-f.6 a= Caningt<m zrm:t ( EliSt}.




                                                               Pagel ol'J
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                                     Page 30 of 48 PageID 34




                    li'urt oflhu A.. AJiu:y 8~ #2                                                                                                                                                           Fii<E03091J




                                               J...-.:.o,.oty !load J.o;!!o             !llconQ FIIJ'• C"""noa9h         :lad lrool 30 ..,..,
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                                                                                                                                                                                              Vol. 157, Pago 152.
                                               8                                      ~4-~ cctu Vol. 1!!~. Pogo Sl!l 1lePll
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                                              I"' /cl""                                                                                                  ~~~· Iron p;n   '"""d ~                                           >
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                                              V        East                                           ( ,..!.,.'!;•   bt~rinU                                 2477.75'           ..

                                              l--c011nly Rocd    ~~~~a .       1\',s. Slaugh 11M5 ac:r..                VaL !IJ, Page     S~B   llCDil


                    olpo "'   'J/8" .-.ppdd Iron pin
                              (H.F 5699) .. l
                    pob - p.,jnl o/ boqlnning

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                                                                                                                                 . Ullfl)' 11!&11111 pJ&I JOpJ-IJ I~ ~·IIIII pOUlld J.ll '"1 m.dl) Wlll<t' 1111 d!J..:I
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Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                            Page 31 of 48 PageID 35



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           NOTICE OF CONFIDENTIALITYIUGHTS:IFYOU AREANATURALPERSON, YOU MAY
           RBMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM TillS
         . INSTRUMENT BEFORE IT IS FILED FOR RECORD lN THE PUBliC RECORDS: YOUR
           SOCIAL SECURI1YNUMBER OR YOUR DRIVER'S LICENSE NUMBER.

                                                             DnO<d W!- Tll!a l!ouilwioa
                                      WARRANTY DEED WITH VENDOR'S LIEN

          Date:              March I9,2oo7                   ::Wo 4 00                              ~
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          Grantor:           Fiserv ISS and Co., Trustee FBO Robert Quilm                            ~
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                                                                                                            no
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                                                                                                                :;!:::O
          Grantor's Mailing Address:                                                                    -l::xr
                                                                                                      ~ :;<(Tl
                                                                                                         ~g
                              1705 Meadowview Road                                                    9         f'l:;!'J
                              Comm~, Texas75428                                                       tn         ~0
                                                                                                                 CJ)
                              Hunt County, Texas

          Grantee:            Terrence Fowler and wife, Susannah Fowler

          Grantee's Mailing Address:

                              P.O.Box360173
                              Dallas. Texas 75336
                              Dallas County, Texas

             Consideration; Ten Dollars and other valuable eonsidemtion paid by Grantee to Grantor~ the
             receiptofwliichishereby acknowledged, and the :fur!herconsidemtionof anoto ofeven date
             that is in theprincipal amount ofThirty-four Thousand and 00/100 ($34,000.00) Dollars, and
            is executed by Grantee, payalile to the order of Grantor. It is secured by a vendors lien
       · · . retained in this deed and by a deed of trust ofeven date from Grantee to Lany W. Green, Jr.,
             Trustee.

           Property ("Property"):

           Boing a tract or pam;l of land situated in Delta County; Texas, being part of the A. Askey .
           Survey, Abstract No. 2, being part of a 139.19 acre tract of land as described in a Warranty
           Deed :from Trosper Properties, Ltd., to Lincoln Tmst Company, Trustee FBO Robert Quinn.
           as  recorded in Volume 265 at Page 136 of the Deed Records of Delta County md being
         · :further descn'bed !llj follows;
           COMMENCING from a I/2 inch iron rod set for a comer at the southwest comer of said
            139.19 acre tract on the east line of Fazm. to Marlcet No. 128;
           THENCE N. 00 deg. 13' 16" W. along !he east line of Farm to MarketNo. 128 and the west
           line of said 139.19 acre ttact. a distance of 132.40 fuet to a concrete monument found;
           THENCEN.lldeg. 05' 20" E. along the east line ofFann to Market No. 128 and the west
           line ofaaid 139.19 acre tract, a distance of 101.98 feet to a 1/2 inch iron rod set;
            'fHENCE N. 00 deg. 13''16" E. alongthe east line of Farm to Market No. 128 and the west
            line of said 139.19 acre tract, a distance of 100.00 feet to a 112 inch iron rod setfoi a comer
            at the beginning ofa curve to the right having a central angle o£08 deg. 41' 38•, a radius of
            379.26 feet, and a chord bearing N. 04 deg. 07' 33" E. at a distance of 57.49 feet;




           Wl'ITaN'J Deed wllb v~·, Lie~~                                                           Pa&el
            ~~L\l:r1JZ!il'•(hRus.,Jlobr:~rt11,.4:l~, 'T~aiS~uetft,b[PI~JU)H£13)\WDVLwpd.
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                          Page 32 of 48 PageID 36



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            · THENCE in the northeasterly directian, along the east line of Farm to Market No. 128, the
              west line of said P9.19 ~ 1ract, and said curve to the right at m arc length of 57.55 feet
              to the Point of Beginning for the hereon described tract ofland;
              BEGINNlNG at a 112 :inch iron rod set for a comer on the east line of Fann to MmetNo.
              128, said Point of Beginning being on the west line of said 139.19 acre tract, Said Point of
              Beginning also being in acurveto the right having a ceritrall!Ilg!e ofl 0 deg. 28' 51", a radius
              of379.2~ feet, and a chord bearing N. 13 deg. 42' 47" E. at a distlmce of 69.28 feet;
              TIIBNCE in the Northeasterly direction, along the east line ofFann to MaP!;:et No. 128, the
              west line of said 139.19 acre tract, and said l(lltVe to the right at an axe length of 69.37 feet
              to a 1/2 inch iron rod set for a comer;               ·                                  ·
              THENCE N. 07 de g.. 38' 37" E. along the east line of Farm to Market No. 128 and the west
              1ineofsaid 139.19 a.cretnmt, adistanceof101.98 feet to a 1/2 inchironrodsetfora comer,
              THENCE N. 18 deg. 57' 12" E. along the east line ofFann to Mru:ket No. 128 and the west
              lineofsaicl139.19 acre tract, a disbmceof255.15feetto a 112 incbironrodset fora comer;
              THENCE S. 89 deg. 58' 05" E. a distance of 2094.38 feet to a 1/2 inch iron rod set for a
             comer;
             THENCE S. 00 deg. 01' 55" W. a distance of 397.88 feet to a 1/2 inch iron rod set for a
             comer;
             THENCE S. 89 de&· 43' 25'' W. a distance: of 2207.04 feet returning to the Point of
             Beginning mid containing 20.000           acres
                                                 of land.

             Reservations from and Exeeplions to Conveyance and Wammty:

               1. All visible and apparent easements or uses and all underground easements or qses, the
               existence of whicb may arise by lllll'ecorded gnmt or by use.                                  ·
        .. . . 2. :All recoroed and unrecorded exceptions. easements and reseiVa:lions affe.cting ilie              .   '·-.   . .::.
                                                                                                                                  ;


   ..        . Property.
              .3.. The .Property shaJI not be used to conduct any type ofjunk or s.alvsge yard. either fur
                                                                                                                .

               profit or not; nor shall it ever take on the appearance of a ju.nk or salvage yard. ·         .
               4. No more than one (1) mobile home shall be permitted on the Property which cannot be
               a sirigle--wide moblle home and must be two (2) years old or newer when placed on the
               Property.
               5. Jnvslidalianoftherestrictlon set forth herein by judgment, pourt order, or olherwise, shall
               in no manner affect any other restrictions, if any, which other restrictions shall remain in full
             · force and effect.
               6.. Tho restrictions shall run with the land and shall be binding upon all parties claiming
               ui:tdet1hem.         ·                                                        ·
               7. Grantee assumes all ad valorem taxes from and after Januazy 1, 2007.

            . Grantor, for the consideration and subject to the reservations from. and exceptions to
               conveyance and warranty, g:rlillts, sells,      and
                                                               conveys to Gnurtee the Property, 't\lgether with
              all and singular the riglrts and appurtenances thereto in anywise belonging, to have and hold
              it 1.0 Grantee. Grantee's hens; executors, administrators. successors, or assigns forever.
              Granror binds GUtntor and Gtantot's heits, exect$m, administrators, and successors to
               warrant ~ forever defend all and singular fuo property to Grantee and Grantee's heirs,
             . e;recutms, admini&ll:ators, successors, !Yld assigns against evezyperson whomsoever lawfully
               claiming or to claim the same· or any part thereof, except as to the reservations from and
               exceptions to warranty.




              Watrmy OC'Ild wil.b Vendor'$ Llen
              \\L.n,o~.ll<>l<oDt,<ll)_,.,.,T.,.....,_(l'"o=-lQI(~ISI\WPVL.v.,.t
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                 Page 33 of 48 PageID 37



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               The vendor's lien aga~t and superior title to the PropertY are retained until each note
               descnoed is fully paid according tom terms, atwbich time this deed shall~ absolute.




                                                                                  ~
                                                                            Robert Quton
                            Angela Bowman             (Print nru:ne)
                         I~ ~.Aifnii.stmtar                        ·
                                                                                              .• ..   ~   ·:·r· .
               ---------(Title}
                                                                 (Acknowledgnlent)


                   State cif Colorado                  §

                   County of Denver                    §

                                                  a    Notaty     Public,    o~ day           JX:~onally            appeared
              .Jiil7'~~'-b~'"-:'~"'.~___,in the capacity~ M,;/ forFiserviSS and
               C ., known to me to be the person whose name is subscnbed mthe foregoing instrument anrl
                   acknowledgedtome that he/she executed the same for the pw:poses and consideration therein
                   expressed.
                                  • •    • •. •                                  "'="" ....
                           Given under my ~d and seal of office this,...) t' day of March, 2007.



                   SEAL:



                   Silrte of Tl'OOlS ·

                   County ofHunt                       §

                         Before mo, a Notary Public, on this day persm;mlly appeared Robert Quinn, known to
                   me through identification of Texas Driver's License, to be the person whoSe name is
                   subs:cdbed to the foregoing instrument and acknowledged to me that he executed the same
                   for the purposes and consideration !herein expressed.             ·          ·




                    SB
    Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                            Page 34 of 48 PageID 38



                                                                    Vll    k?AtE
                                        29 0   ~ 75
                              WARRANTY DEED WITH VENDOR•s LIEN
                                                                    :tt 0614
             Data: MAY 25, 2007 .

             Grantar:             DEBORAH KAY CAVANAUGH
                                                                                                              -
                                                                                                                  -= M-.,
                                                                                                                  .r...
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                                                                                                                   ~ !::i;:=
                                                                                                                   r::: .:.>m
             Granter's Mailing Address (Including c:Qunty}:                                                       =I qO
                                                                                                                      a..,
                                                                                                                  ""' '"""i2
                       DEBORAH KAY CAVANAUGH                                                                      ~
                                                                                                                  ::l::
                                                                                                                           :J;o
                                                                                                                           ..... , ..l
                       P.O. BOX 474-                                                                                       -·0
                                                                                                                  ~        r:~
                       COOPER;TEXAS 75432
                                                                                                                           ,~~
                                                                                                       -1          (,11
                       DELTA COUNTY
                                                                                                       "'          lUI      ...
             Grantee;            ·HERB PUTZ

             Grantee's Mailing Address (h1ol1.1ding county}:

                       HERBPUTZ
                       1825 LOCUST GROVE CHURCH ROAD
                       ORANGE, VA 22960
                       _ _ _ _ COUNTY

            ·Consideration:                  TEN AND N0/100 DOLLARS and other good and valuable
             consideration and the further consideration oF a nota of even data that is in 1he principal
             amount of $35,224.00 and Is executed. by Grantee, payable to the order of THE Fl RST
             NATIONA.L BANK lN COOPER. The note is secured by a vendor's lien retained in favor
             ofTHE FIRST NATIONAL BANK IN COQPER in this deed and by a deed of trust of even
/            date, from Grantee to EDGARJ. GARRETf, JR., Trustee.

                    THE FIRST NATfONAL BANK IN COOPER, at Giarrtee's request, haVing paid in
             cash to Gmntor that portion of the ·purchase price of the property that is evidenced by the
             note described, the vendor's lien and superior title to the property are retained for the                                   ..   ''·.
             benefit of 11-IE HRST NATIONAL SANK IN COOPER and are transferred to THE FIRST
             NATIONAL BANK IN COOPER without recourse on Grantor.                           .

             Property (Including any improvements);

                       See Exhibit "A" attached hereto and made a part hereof just as if copied herein
                       verbatim.

             R~servations           From and ExcepHons. to Conveyance and Warranty:

                   Ea~ments, rights-of-way, and prest::riptive rights; whether cf record or not; all
             presently recorded instrumems, other than liens and conveyances, that affect the property;
             c,\;)oct=CS and Settin!la\COl<lP<I;;LO!il!>er\N.y Dtle-.menta\S<!A.'DIW'S DDCS\F>:B\P= OF l'XOPERrt !.0.\lf
             ll{)CS\!ih'Rl'Jil>.-r't i)J<ED VL SOli( llJ>I:Rg.wpd
- - - - - - - - - - - - ---------------
         Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                           Page 35 of 48 PageID 39


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                                                                        VI!ll             Mt£
                                                                       290                 176
                           laxes for the currenl year, lha payment of which Grantee assumes,

                                     GrantQf, for the consideration, recefpt of which Ia acknowledged, and subJactto the
                             rasa Nations from and exceprtons to conveyance and warranty, grants, sells and conveys
                             to Granteetheproperty, together with all and singular the rights and appurtenances thereto
                             In any wise belonging, to have and. hold It to Grantee, Grantee's heirs, executor,
                             administrators, successors or assigns forever. Grantor bfnds Gran[or and Gran lor's heirs,
                         · · executors, administrators and successors to warrant and forsver defend all and singular
                             the property loGranree and _Grantee's heirs, executor;s, administrators, successors and
                             assigns ~gainst every person whomsoever lawfully claiming or to claim the sama or any
                             pali. thereof, except as to the reservations from and exceptions to conveyance and
                          -warranty._
                                   The vendots lien_ against and sup&riortitle to the property are retained until each
                           note deScribed is fully paid according to its terms, at which lime ihis dee shan become
                           absolute.                                         ·




                                                                     ACKNOWLEDGMENT

                           STA:TE OF TEXAS                                         §
                                                                                   §
                           COUNTYOFDEI,.TA                                         §                                                                         • I     ,· •


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                          DOCS\~ D)<lm IlL mat HEIRS-Wild                  '                                                 .
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                       Page 36 of 48 PageID 40
.,

       .~




                            Foster L:md Surv~Q 17325          flf i/iif   Arthur City, TX 75411
                                            (903) 73!}.9166 :fit (903) 783-9!5fJ


                                                        Field Notes

                           Situaled about 3.6 miles North t 4Q Em from :!he City of Cooper, in the
                   Counly ofDel111, State ofTexas, a part oftbe A Askey StnVey #2 and being all oh
                                  -r
                   called 30 acre 1nlct (CI!lculates 4C Et~;~::cs by deed) llonvayed to Glenna Faye
                   Cavanangb by deed ;recorded tu Vol. '1:2.7, Page &35 of1he Official Public Recorrl'l of
                   S!!id Connty and Slate. ·                                                        ·
                                                                           of
                           &gimling ai.ll 3/8- iroll pin fulllld 1n the center County Rnad 143 !0 and
                    b~gthfl NorthweStcorncrofacalled341/6llml tractof.lllndoonvcycd to MllmlY
                    Catrlngtout ux by deed ~in VoL 142, Page 576 cfthe Deed Records of said
                    CouotyB!Id SWe, fiom said pointa318" capped iron pin (HF 5699) found bears
                    Somb 0"29'47" Wesl e distance of 1186.49', said poi.nt being the Southwest comer
                  · of~ Cava:mtugb troot.
                           Thence North 119"5?'01" East a distancco£2477.79' to a 3/lrcappediron
                    pin [HF 569!f) found in !he West boundary line of a ca11cd 25.97 acre ttaet ofland
                    conveyedinJm}'P. Simpoon bydeedrecotdedln Vol.l83, ~llC561 ofsaid deed
                    records. as.ld point b~ing the Nol'lllcast comet of the 34ll611.crattacL Hlld the
                    &>utheasl comc;:r ofthe G!.vammgb.ll'llCt;
                            Tht:ncc NOI1h 0°40'01" W~:~stadistanre of 7:l1.61' to a. 318" spike nail found
                    at the Southeast cornerafa.called &0.!1619 aeretractffl conveyed to Signe E.l'nt~;
                    by docd reootdedin Vol. 240. Page 1Wl of sald Offielal Publiclkcotds, from .said
                    point an axle fumdarlho Northeast comr:r oftM 80.8619 I!Cre tract bears North
                    0" 17'24" East a distance of 1431.14';
                            Thence North 89"38'24° West a disnmr:e of24li9.85 • ro a 3/S"capped iton
                    pm (Hf S699) set in 1be cemero£County Road 64310, said point being !he
                    Southwest corner of the 80.1!619 qcre tract, from aaid point a~" iron pin found atlhc
                    Nmthwestco.meroftlte 80.86l9 acte 1ractbeatsNorlh 0~'06"W~ta dislance of
                    1415.60';
                           'I!lell1le SoUth O"Ol'55" East alons. said Coonty Road a di3tartce.of7l7.78' ro
                    the polnt ofbcgitmlng M.d. containing 41.44acres ofland..

            ...         . . 1, Eayden Foster, :R.cgistc:ted Professional Lar!d SUrveyor; No. 5699 do
                    hcrcbyea1l.zy that this planeptesenl:$ an on lhc gmund survey made und~:r my direct
                    .rupervislon. There docm'L appear IQ be roy encroe.cbme.o:ts other tban those shown
                    her~. Ref;:re~ Bearing= Notfh boundacy line of !he S0.&619 acre trael ill
                    conveyed in VoL 240, Page 648 DCOPR {East).

                                - ' "" ~.u.r--...,                              0511n/tf1




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                                                    Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                                                                                                        Page 37 of 48 PageID 41




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   Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                                          Page 44 of 48 PageID 48




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            Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                  Page 45 of 48 PageID 49

Herb Putz

From:                              Carroll, Bob A <Bob.Carroll@atmosenergy.com>
Sent                               Wednesday, March 12, 2014 2:28PM
To:                                Putz Farms
Subject:                           RE: CASE 106931N TH DISTRICT COURT OF DELTA COUNTY


Thanks!

Just send me the information and we will contact.


From: Putz Farms [mailto:putzfarms@wildblue.net]
Sent: Wednesday, March 12, 20141:09 PM
To: Carroll, Bob A
Subject: RE: CASE 10693 IN TH DISTRICT COURT OF DELTA COUNTY

Thank you for providing us the data. Do we try to settle through Mr. Terrell or you or provide name address/e-
mail/phone # of person Thanks


From: Carroll, Bob A [                                 ]
Sent: Wednesday, March 12, 201411:25 AM
To:
Cc:                      ; Hofmann, Nick; Flood, Raphael
Subject: FW: CASE 10693 IN TH DISTRICT COURT OF DELTA COUNTY

Mr. Putz,

Mr. Terrel! has joined a different !aw firm and still represents Atmos .

The work began @ 7/25/2013 on the pipeline replacement and was completed 8/30/2013. The damaged area was 50' X
4,740' + 237,500 sq. ft. for a total of@ 6 acres of crop damages.

Thanks
Bob


From: Harwell, David W
Sent: Monday, March 10, 2014 8:29 AM
To: Carroll, Bob A;
Cc: Teresa Wonka (                             )'
Subject: RE: CASE 10693 IN TH DISTRICT COURT OF DELTA COUNTY

Construction started a couple of days @ 7/25/13 and the replacement was completed on


From: Putz Farms [                                   ]
Sent: Friday, March 07, 2014 2:37 PM
To: Carroll, Bob A
Subject: FW: CASE 10693 IN TH DISTRICT COURT OF DELTA COUNTY

Good afternoon Mr. Carroll- when can we expect the requested documents·- as we need to move forward settling the
damages you caused us and to which you are committed to hold us harmless under the ROW agreement?


                                                               1
        Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                   Page 46 of 48 PageID 50
From: Putz Farms [                  ]
Sent: Friday, February 28, 2014 3:58PM
To: 'bob.carroll@atmosenergy.com'
SUbject: CASE 10693 IN TH DISTRICT COURT OF DELTA COUNlY

Good afternoon- we just learned that Mr. Terrell no longer represents ATMOS. Atmos damaged our standing crop.
Please provide us immediately the (i) date and time when Atmos and their agent entered and performed certain work
(ii) the description of the work performed (iii) the length and the width of work on our property. Rgds Dr. H Putz




                                                         2
Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17              Page 47 of 48 PageID 51


 HERBERT R. PUTZ
 1825 Locust Grove Church Rd.
 Orange, VA 22960
 (540) 406 7054




 December 1, 2017



 The Honorable Clerk
 Karen Mitchell
 United States District Court
 Northern District of Texas
 1100 Commerce Street
 Dallas, TX 75242


 RE: Herbert R. Putz v. Atmos Energy Corporation


 Honorable Ms. Mitchell,

 Please fmd enclosed (i) original and a copy of PLAINTIFFS' ORIGINAL COMPLAINT
 TO COMPEL DEFENDANT TO APPOINT THEIR "DISINTERESTED PERSON" TO
 PROCEED WITH THE ALTERNATE DISPUTE RESOLUTION STIPULATED IN
 THE EASEMENT AGREEMENTS; (ii) Summon in a Civil Action; (iii) Check drawn on
 Virginia National Bank in the amount of $ 400,00 for fees in conjunction with the
 complaint.

 If you have any questions or I did miss something I appreciate contacting me at (540) 406
 7054 or

  Respectfully,
     Case 3:17-cv-03280-G-BT Document 3 Filed 12/04/17                                   Page 48 of 48 PageID 52



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